Georgia Court of Appeals - Login
    
        
    
    
        
            
            
            
            
            
            
            
            
            
                
                    
                
                

                

                    
                        
                            
                                
                                    
        
            Welcome to the New eFaST website for the Court of Appeals of Georgia. 
 Instructions 

 Questions and Answers 
 June 29, 2012 
 The e-filing instructions have been updated. 
Please review the changes that have been made to our document assembly requirement for responses to applications.


This is a reminder that if you have registered for e-filing, you will receive all docketing notices, orders, opinions and other notices  about appeals in which you are counsel of record through e-mail from the COA EFast System.  Please make sure e-mails from the coaefast@gaappeals.us do not go to trash or your spam mail folder.Also, it is your responsibility to keep your e-mail address up to date in your profile on the COA EFAST System so that you will receive your mail from the system.
Please do not attach the following types of exhibits to pleadings such as briefs and motions (including motions for reconsideration) which are e-filed:

Do not attach a copy of the Petition to the Supreme Court of Georgia for a Writ of Certiorari to the Notice of Filing the Petition.

Do not attach copies of this Court's opinions or orders to your pleadings.  You should provide citations to opinions you reference and the date and type of order you reference.

Do not attach exhibits which are in the trial court record which were filed with this Court by the trial court clerk for a direct appeal.  You should reference these documents by the record volume number and page number in the official record.

Addition to Documents which can be e-Filed 
Please be advised a member of the Georgia Bar listed on a docketed appeal in this Court, can now e-file a motion for courtesy appearance for an out-of-state attorney in the case.  The motion must contain a proper signature of the Georgia Bar member as set out in the e-filing instructions.  The filing attorney will be required to pay the filing fee for the motion of $30 by credit card.  A credit card convenience fee of $10 will also be charged to the attorney.


June 30, 2014 - Credit Card Convenience Fee reduced to $10.00
Please be advised the credit card convenience fee will be reduced to $10.00 effective July 1, 2014.


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